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                              United States District Court
                                     for the
                            Southern District of Florida

  Andre Chapman, representative of      )
  Estate of Darren Rainey, Plaintiff,
                                        )
                                        ) Consolidated Action Case No. 14-
  v.
                                        ) 23323-Civ-Scola (Orig. Case No. 14-
  Florida Department of Corrections,    ) 24140-Civ-Scola)
  and others, Defendants                )
                                        )

                    Order Regarding Settlement Distribution
         This cause was heard on February 15, 2018, upon the Plaintiff’s motion
  to strike Linda Commons’s charging lien or, in the alternative, to approve the
  parties’ settlement agreement and adjudicate the charging lien. The court
  having considered the motion and the response thereto, argument of counsel,
  and being otherwise advised in the premises, it is hereby
         Ordered and adjudged
      1. In order to facilitate the settlement in this case the Court orders
  Defendants Jerry Cummings, Cornelius Thompson, Roland Clarke and Corizon
  LLC, upon receipt of a fully executed release, to cause their respective portions
  of the settlement proceeds to be paid to the Sutton Law Group Trust Account
  and they will be released from any liability with regard to the issue of the
  charging lien. Once the funds deposited in Mr. Sutton’s trust fund have cleared,
  the Plaintiff may recover his share of the proceeds and cause it to be deposited
  into the designated estate depository.
      2. The remaining funds representing the case costs incurred and the
  attorneys’ fees incurred will remain in Mr. Sutton’s trust account until further
  order of Court. However, the Court will consider and allow cost payments to be
  made either upon agreement of counsel as to the amounts or by further court
  order upon motion for the payment of the same with the necessary back up
  documentation establishing the incurring thereof.
      3. The Court reserves jurisdiction to adjudicate the lien issues and to
  finalize the distribution of settlement funds in this cause. The Court reserves
  jurisdiction to: (1) adjudicate Commons’s lien; (2) determine Grimes, Sarmiento,
  and/or Commons’s entitlement, if any, to attorneys’ fees; and (3) finalize the
  distribution of settlement funds in this cause. This order is intended to allow

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  the Plaintiff to recover settlement funds due to him and to allow the Defendants
  to pay the settlement amounts and have no further involvement or liabilities in
  this case. This Order is not intended to replace or divest the Probate Court of its
  function with respect to oversight of any estate funds. The parties agree to
  inform the Court of any overlap between orders by the Probate Court and this
  Court, and seek clarification accordingly.
        Done and ordered at Miami, Florida, on February 26, 2018.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge




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